      Case 3:23-cv-06003-WHO            Document 108         Filed 11/19/24      Page 1 of 8




Via ECF

Hon. William H. Orrick
United States Senior District Judge
U.S. District Court for the Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102


       Re:     Securities and Exchange Commission v. Payward, Inc. and Payward Ventures,
               Inc., Case No. 3:23-cv-06003-WHO

Hon. Judge Orrick:

        Pursuant to this Court’s Civil Standing Order, the parties present this joint statement
regarding an unresolved discovery dispute concerning Plaintiff’s objections to Defendants’
requests for three categories of documents: (1) those concerning Bitcoin and Ether, (2) those
concerning Plaintiff’s public statements and testimony regarding digital assets, and (3) Plaintiff’s
internal trading policies on digital assets. Defendants served their requests for production (“RFPs”)
on Plaintiff on August 24, 2024. Plaintiff submitted its responses and objections to the RFPs on
September 30, 2024 (attached as Exhibit A). In response, Defendants submitted two letters to
Plaintiff regarding these issues, on October 8, 2024 and on October 24, 2024. The parties have met
and conferred by Zoom twice—on October 16, 2024 and again on October 31, 2024—and have
subsequently reached impasse. The positions of the parties are attached to this cover letter.

      The parties are generally available for a telephonic oral argument at the Court’s
convenience.
      Case 3:23-cv-06003-WHO       Document 108   Filed 11/19/24     Page 2 of 8




Respectfully submitted,

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      Case 3:23-cv-06003-WHO                Document 108          Filed 11/19/24        Page 3 of 8
The Hon. William H. Orrick
November 19, 2024
Page 1
                                    I. DEFENDANTS’ POSITION
        Kraken seeks to compel the production of information that is highly relevant to defending
the claims brought by the SEC. Specifically, the Court should order the SEC to search for and
produce: (i) documents concerning Bitcoin and Ether; (ii) the SEC’s internal trading policies on
digital assets; and (iii) documents concerning the SEC’s statements to third parties and testimony
regarding digital assets. “Relevancy, for purposes of discovery, is broadly defined to encompass
any matter that bears on, or that reasonably could lead to other matter that could bear on, any
issue that is or may be in the case.” Rubke v. ServiceNow, Inc., 2024 WL 4540756, at *2 (N.D.
Cal. 2024). And, “[l]ike any ordinary litigant, the [SEC] must abide by the Federal Rules of Civil
Procedure [and] is not entitled to special consideration concerning the scope of discovery,
especially when it voluntarily initiates an action.” SEC v. Collins & Aikman Corp., 256 F.R.D.
403, 414 (S.D.N.Y. 2009). While this Court will ultimately determine admissibility, the
documents requested by Kraken easily clear the low bar for relevance during discovery.
        Bitcoin and Ether: Documents related to Bitcoin and Ether (RFPs 7, 9, 11, 12, 31, and
32) are relevant. Bitcoin and Ether are the two largest digital assets by market cap. They trade on
Kraken’s platform just like the 11 digital assets named in the complaint and have many of the
same characteristics the SEC has alleged and argued make sales in the 11 named digital assets
“investment contracts.” For example, the SEC relies on the alleged “initial” fundraising by the
“issuers” of the named 11 digital assets to support its “investment contract” theory. See, e.g.,
Compl. ¶ 243. Ether involved initial “fundraising” too. 1 The SEC also claims that the alleged
issuers touted their tokens’ “ecosystems” and the steps they would take to grow them. See, e.g.,
Compl. ¶ 252. The Ethereum Foundation has done the same with Ether. See Jacobo v. Doe, 2022
WL 2052637, at *1 (E.D. Cal. 2022) (Ethereum Foundation is “a well-known organization that
supports the Ethereum cryptocurrency platform and related technologies”). And the creator of
Bitcoin publicly promoted the token. See ECF No. 25 at 25.
        Despite all of this, the SEC has declared that transactions in Bitcoin and Ether are not
securities transactions. Setting aside their ultimate admissibility, documents related to these
assets could tend to contradict the SEC’s allegations by showing why transactions in assets with
very similar characteristics are not securities under Howey, and the circumstances the SEC has
determined to be insufficient to deem transactions investment contracts. For example, they would
be relevant to the “reasonable expectations of the individual initiating the transaction” on
Kraken. ECF No. 90 at 11. If members of the public were “led to expect” by the SEC that
transactions in Bitcoin and Ether were not investment contracts, then a reasonable purchaser may
have been “led to expect” that transactions in the 11 named digital assets were likewise not
investment contracts thereby failing the third Howey prong. See Warfield v. Alaniz, 569 F.3d
1015, 1021 (9th Cir. 2009). The SEC says that Kraken “misrepresents the third prong of Howey,”
but if a purchaser had no reasonable expectation of profits from the efforts of others, that
necessarily means she had no reasonable expectation she was purchasing an investment contract.
       The SEC says Bitcoin and Ether are “unrelated” to the named digital assets, but this is
disputed by Kraken. The requested discovery could demonstrate that the digital assets are
related—either because the SEC itself acknowledged they have similar characteristics or because
SEC documents reflect such market perceptions. The SEC posits that internal documents about

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 William Hinman, Dir., SEC Div. of Corp. Fin., Digital Asset Transactions: When Howey Met Gary (Plastic) (June
14, 2018), https://tinyurl.com/9k6hbh3m .
      Case 3:23-cv-06003-WHO                 Document 108           Filed 11/19/24        Page 4 of 8
The Hon. William H. Orrick
November 19, 2024
Page 2
Bitcoin and Ether “cannot inform” the application of Howey to the named digital assets. But this
ignores that, as a central player in the market’s understanding of digital assets, the SEC’s views,
analyses, and statements regarding these tokens inform the “character . . . in commerce” given to
other tokens with similar characteristics, including the tokens named in the complaint. Marine
Bank v. Weaver, 455 U.S. 551, 556, 559 (1982) (analyzing Howey based on whether instruments
would “ordinarily and commonly [be] considered . . . securities in the commercial world” and
“what character the instrument is given in commerce”).2
        The SEC’s communications regarding Bitcoin and Ether are also relevant to Kraken’s fair
notice defense, including whether the SEC’s actions and statements have sown “substantial
uncertainty” regarding the application of the securities laws to digital asset transactions. See
Upton v. SEC, 75 F.3d 92, 98 (2d Cir. 1996). The SEC accuses Kraken of incorrectly describing
its own defense, arguing fair notice only involves “review of the underlying statute” and not the
SEC’s actions. Yet the cases relied upon by the SEC in its Rule 12(c) motion demonstrate that
the SEC’s “regulations, written guidance, litigation, [and] other actions” can be relevant to fair
notice. See SEC v. Terraform Labs, 684 F. Supp. 3d 170, 192 (S.D.N.Y. 2023); SEC v. Ripple
Labs, Inc., 682 F. Supp. 3d 308, 332 (S.D.N.Y. 2023) (similar); United States v. Zaslavskiy, 2018
WL 4346339, at *9 (E.D.N.Y. 2018) (similar).
        The court in Ripple rejected the SEC’s arguments and held that “discovery related to
Bitcoin and Ether is relevant” “with respect to the Howey factors” and “to the fair notice
defense.” SEC v. Ripple Labs Inc., 20-cv-10832 (AT) (S.D.N.Y.), ECF No. 112, Tr. 51:9-52:13.
Likewise, the Coinbase court found that Coinbase was entitled to broad discovery of the SEC’s
internal documents related to Howey and its application to digital assets. ECF No. 161, Tr. 5:16-
6:25. The SEC has not attempted to explain why this case is distinguishable from Ripple or
Coinbase.3 Instead, despite previously telling this Court that Coinbase is a “recent similar
enforcement action” involving some “nearly identical allegations,” it now tries to have it both
ways by rehashing a similar discovery dispute it lost in that case two months ago. ECF No. 60 at
2, 24. The SEC’s cited cases are inapposite. LBRY involved a deposition subpoena of a former
director, not requests for documents from the SEC’s files. Kik involved primary sales, not
secondary sales on a platform involving multiple assets, and the order and related briefing did
not discuss Bitcoin or Ether. Terraform involved primary sales, only addressed (with no
analysis) speeches, and did not find those documents irrelevant. And since these cases, the SEC
has advanced new and shifting theories—including that a digital asset “embodies” an investment
contract—which Kraken is entitled to rebut through discovery about Bitcoin and Ether.
        SEC Policies and Guidelines: Documents related to the SEC’s policies and guidance
governing its employees’ ownership and trading of digital assets (RFPs 49 and 51) are also
relevant to Kraken’s Howey and fair notice defenses. If the SEC allowed trading in digital assets
by its employees as consistent with the securities laws during the very time that it asserts Kraken
had “fair notice,” then how could it have been reasonable for a purchaser to believe she was
entering into an investment contract? See Marine Bank, 455 U.S. at 559. Citing nothing, the SEC
says that its “internal policies, deliberations, or approaches” have no bearing on this inquiry. But

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  The SEC says that Kraken “misreads” Marine Bank, but the SEC is wrong that the case held only “the specific
facts of the transactions at issue” can be considered under Howey. See 455 U.S. at 559.
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  The SEC says that the Ripple defendants did not cite any of the disputed documents in their summary judgment
papers. That is demonstrably false. See, e.g., Ripple, ECF No. 828 at 15. That the court’s summary judgment order
did not cite these documents, among the hundreds presented, does not reflect on their relevance for discovery.
      Case 3:23-cv-06003-WHO               Document 108         Filed 11/19/24       Page 5 of 8
The Hon. William H. Orrick
November 19, 2024
Page 3
the SEC tried to play a central role in market-wide understandings, so its views are relevant. And
the SEC’s adoption of contrary policies for its own staff and the general public could give rise to
“substantial uncertainty” and a fair notice defense about the application of the securities laws to
digital asset transactions. See Upton, 75 F.3d at 98. Ripple similarly found that defendants’
requests for the SEC’s internal trading policies cleared “the low bar for relevance” and ordered
the SEC to produce these policies. Ripple, ECF 253. The same analysis applies here.
        Documents Concerning SEC Statements to Third Parties and SEC Testimony:
Evidence related to certain public statements by the SEC about digital asset regulation is relevant
(RFPs 15 and 77-84). In 2021, Chair Gensler testified to Congress that “exchanges trading in
these crypto assets do not have a regulatory framework [] at the SEC.”4 Discovery into the
documents and communications underlying the Chair’s testimony, and the basis for his assertion,
is relevant to whether and how the Exchange Act applies to Kraken. Kraken also seeks
documents concerning the June 14, 2018 speech by former SEC Director of the Division of
Corporation Finance William Hinman—the same documents the SEC was ordered to produce in
Ripple after protracted litigation. Former Director Hinman’s speech addressed issues that are
relevant (Bitcoin and Ether’s status under the securities laws) and in serious dispute (how Howey
applies to secondary trading). See ECF No. 25 at 4, 23. As in Ripple, discovery into the bases for
his assertions is relevant to Howey. This discovery is also relevant to fair notice, as it may
underscore the widespread uncertainty among market participants about the regulatory status of
digital asset transactions and secondary trading on platforms.
        The Requested Discovery Is Proportional to the Needs of the Case. Each category of
requested documents also satisfies Rule 26’s proportionality requirement. The SEC has not
articulated any reason why these requests would impose a disproportionate burden other than its
say-so. Given that each of these categories has already been reviewed and produced in other
matters, the SEC’s burden is low. Kraken has also expressed a willingness to work with the SEC
to devise a search methodology that would decrease burden, and remains committed to doing so.
                                   II. PLAINTIFF’S POSITION
        The SEC’s claims turn on one question: whether the 11 crypto assets identified in the
Complaint (the “Kraken-Traded Securities”) were offered and sold as investment contracts under
the Exchange Act and Howey. The discovery that Kraken seeks to compel has expressly no
factual connection to any of the 11 Kraken-Traded Securities. Instead, Kraken seeks documents
about other crypto assets unnamed in the Complaint (Bitcoin and Ether), SEC employee policies,
and internal SEC documents about statements that do not mention the Kraken-Traded Securities.
They are irrelevant, and gathering and producing them will be a tremendous waste of resources.

        Discovery is limited to non-privileged documents relevant to this case’s claims and
defenses and proportional to the needs of the case. See Fed. R. Civ. P. 26(b)(1); Lineberry v.
AddShoppers, Inc., 23-cv-01996, 2024 WL 4707986, at *2 (N.D. Cal. Nov. 6, 2024) (“discovery
is not unlimited”). Kraken’s arguments as to the relevance of the materials sought are misguided
and disingenuous. First, the SEC’s deliberations about other crypto assets will provide no
evidence helpful to the fact-specific Howey analysis this Court will have to perform for each of
the Kraken-Traded Securities. Even if the SEC’s internal Howey analyses of Bitcoin and Ether

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 Game Stopped? Who Wins and Loses When Short Sellers, Social Media, and Retail Investors Collide, Part III,
117th Cong. 12 (May 6, 2021), http://tinyurl.com/3u2cynya (emphasis added).
      Case 3:23-cv-06003-WHO                  Document 108           Filed 11/19/24         Page 6 of 8
The Hon. William H. Orrick
November 19, 2024
Page 4
were inconsistent as Kraken suggests, it is this Court’s application of Howey to the “totality of
circumstances” of the sales of the Kraken-Traded Securities that controls the claims at issue here,
not the SEC’s analyses of crypto assets unnamed in this litigation. Second, Kraken repeatedly
misrepresents the third prong of Howey to support its requests: it is an investor’s reasonable
expectation of profits to be derived from the efforts of others that is relevant under Howey, not
whether an investor had a reasonable expectation that she was purchasing an investment contract.
Nor are the SEC’s own actions relevant to that question —it is the action of the promoters, not
how the SEC internally thought of the token, that gives them their character in commerce. Third,
fair notice simply requires an objective review of the relevant statues, not internal SEC
deliberations. Therefore, none of the documents Kraken seeks relate to Kraken’s fair notice
defense. See SEC’s Mot. for Judgment on the Pleadings, ECF No. 103. Indeed, dismissing
Kraken’s meritless fair notice defense would render Kraken’s relevancy argument moot. Id. This
Court should decide that motion first. Finally, if the documents Kraken seeks were relevant at all,
this relevance would only be marginal and tenuous, and the massive effort necessary to search
across the Commission for these documents would be disproportionate to the needs of this case,
especially because many, if not most, of the SEC’s internal documents would be privileged.

        Kraken seeks documents unrelated to this Court’s Howey analysis. Kraken bears the
burden to show how documents unrelated to the 11 Kraken-Traded Securities are relevant to the
Court’s application of Howey to those Kraken-Traded Securities. Lineberry, 2024 WL 4707986,
at *2. Over Kraken’s objections, this Court has already construed Howey and has described
generally what facts matter under Howey: “[w]hat counts is the totality of the circumstances
surrounding a sale, trade, or exchange, and the expectations of the investor.” SEC v. Payward,
Inc., 2024 WL 4511499, at *9-10 (N.D. Cal. Aug. 23, 2024) (cleaned up). Internal SEC
documents about Bitcoin and Ether cannot inform this analysis. Nor would the SEC’s employee
trading policies, deliberations unrelated to the Kraken-Traded Securities, or drafts of speeches.5

       Nonetheless, Kraken vaguely suggests that the SEC might have used an inconsistent
approach in analyzing other crypto assets, which might help it defend the action here. But the
SEC’s internal analyses of crypto assets outside of this litigation have no bearing on how this
Court might apply Howey to the facts relevant to the Kraken-Traded Securities. Cf. SEC v. Kik
Interactive, 19-cv-5244, ECF No. 36 (S.D.N.Y. Oct. 29, 2019) (“deliberations within an agency
sheds no light on the application of the statute”). At summary judgment, this Court will apply
Howey, as it has already construed it, to the evidence presented. The SEC’s internal Howey
analyses are not relevant. Otherwise, the SEC could prove its case by submitting internal memos
opining that the Kraken-Traded Securities were sold, traded, or exchanged as securities.

        Kraken is reduced to pointing to an out-of-circuit magistrate judge’s ruling, urging this
Court to apply that ruling to a larger set of documents despite the absence of a reasoned opinion
articulating how documents unrelated to the crypto assets at issue could be used in a Howey
analysis. Indeed, the parties’ subsequent summary judgment filings in that case proved the
weakness of that ruling. When the Ripple defendants presented their arguments and relevant
evidence to the district court at summary judgment, they did not include in their application of

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 As the SEC informed Kraken, some of these policies are now public. See, e.g., Ripple, ECF No. 831-66. Even with
the documents in hand, Kraken has not articulated how these policies are relevant to Howey or even how the internal
policies contradict the SEC’s position that crypto assets can be offered and sold as investment contracts .
      Case 3:23-cv-06003-WHO                   Document 108           Filed 11/19/24         Page 7 of 8
The Hon. William H. Orrick
November 19, 2024
Page 5
Howey any of the documents the magistrate judge ordered produced. Ripple, ECF Nos. 825, 828,
832. In support of their argument that sales of XRP did not satisfy Howey, the Ripple defendants
did not cite to Bitcoin or Ether documents produced by the SEC, the SEC’s internal trading
policies, or documents concerning the William Hinman speech. Unsurprisingly, the court in
Ripple in deciding the summary judgment motions likewise did not rely upon such documents
when applying Howey. See SEC v. Ripple Labs, Inc., 682 F. Supp. 3d 308 (S.D.N.Y. 2023). 6

        Kraken incorrectly describes Howey’s third prong to support its relevance claims.
Kraken argues that the materials sought are relevant to a purchaser’s “reasonable expectations”
that an investment does or does not constitute an “investment contract. ” However, the third
prong of Howey is about a purchaser’s “expectation of profits produced by the efforts of others.”
A purchaser’s expectation as to whether an investment constitutes an investment contract is not
part of Howey at all. Once again, Kraken is trying to add additional elements to burden and
constrain Howey. Nor can the Commission create those expectations, as Kraken argues. It is the
promoters that determine the nature of an asset in commerce, not the SEC’s internal policies,
deliberations, or approaches. Similarly, Kraken misreads Marine Bank v. Weaver, 455 U.S. 551
(1982). Marine Bank does not attempt to convert Howey into a subjective test proven by the
private views of third parties as to unrelated offerings. The Court in Marine Bank applied Howey
by only analyzing the specific facts of the transactions at issue and applying legal precedent. Id.
at 559-60. This Court should take the same approach here.

        Kraken is incorrect about the scope of its flawed fair notice defense. Fair notice is
limited to a review of the underlying statute, not the SEC’s interpretation of the statute.
“Whether a provision is vague for lack of fair notice is an objective inquiry.” Kashem v. Barr,
941 F.3d 358, 371 (9th Cir. 2019). The inquiry hinges on the “statute itself and the other
pertinent law.” Bouie v. City of Columbia, 378 U.S. 347, 355 n.5 (1964). Whether “investment
contract” provides fair notice does not hinge on SEC staff members’ internal analyses of Bitcoin,
Ether, or the Exchange Act more broadly. See Fang Lin Ai v. United States, 809 F.3d 503, 514
(9th Cir. 2015) (finding “whether the government applied or interpreted [the statute]
consistently” does not bear on whether the statute was unconstitutionally vague); United States v.
Coscia, 866 F.3d 782, 792-93 (7th Cir. 2017) (“agency inaction . . . is irrelevant.”).

       None of the courts that have considered whether “investment contract” provides fair
notice have relied upon the types of internal SEC documents that Kraken has requested.
Accordingly, courts have routinely rejected discovery requests like Kraken’s. See, e.g., SEC v.
LBRY, Inc., 21 Civ. 260, ECF No. 50 (D.N.H.), Tr. at 16, 28-29 (denying discovery concerning
Hinman, in part, because what an SEC official “think[s] the law is,” is not entitled to any
deference, and thus there was no “potential relevance” to “what drove [the official] to make [a]
speech … [or] what his internal thought process was.”); SEC v. Kik Interactive, 19-cv-5244, ECF
No. 30 (S.D.N.Y. Oct. 29, 2019) (denying discovery into SEC’s internal analysis and
communications with third-parties); SEC v. Terraform, 23-cv-1346 (S.D.N.Y. July 7, 2023)
(minute order denying discovery related to SEC speeches). This Court should do the same here.


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 Kraken also points to a transcript from Coinbase to support its argument that Bitcoin and Ether are relevant to this
Court’s application of Howey. That issue, however, was not before the Coinbase court. Coinbase did not seek and
did not obtain documents about Bitcoin and Ether. Coinbase, ECF No. 161.
      Case 3:23-cv-06003-WHO           Document 108        Filed 11/19/24     Page 8 of 8
The Hon. William H. Orrick
November 19, 2024
Page 6
                                  FILER’S ATTESTATION

       I, Matthew C. Solomon, am the ECF User whose ID and password are being used to file

this joint statement. In compliance with Civil Local Rule 5-1(i), I hereby attest that concurrence

in the filing of this document has been obtained from each of the other signatories.



                                                    By: /s/ Matthew C. Solomon
                                                       Matthew C. Solomon
